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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

LAMAR ADVERTISING SOUTHWEST, INC.,

              Plaintiff,

v.                                                              No. CV 21-230 GJF/CG

GRANDVIEW REALTY, LLC, et al.,

              Defendants.

            ORDER EXTENDING DEADLINE FOR CLOSING DOCUMENTS

       THIS MATTER is before the Court upon Plaintiff’s Unopposed Motion for

Extension of Time to File Closing Documents (the “Motion”), (Doc. 56), filed July 7, 2022.

In the Motion, Plaintiff requests an extension of time from June 30, 2022, to July 20,

2022, for the parties to file closing docs, in order to allow them to resolve an issue related

to payment of attorney’s fees. (Doc. 56 at 1). The Court, having reviewed the Motion, and

noting it is unopposed, finds that the Motion is well-taken and shall be GRANTED.

       IT IS THEREFORE ORDERED that the parties shall submit closing documents by

July 20, 2022.

       IT IS SO ORDERED.


                                    ____________________________________
                                    THE HONORABLE CARMEN E. GARZA
                                    CHIEF UNITED STATES MAGISTRATE JUDGE
